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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION

 UNITED STATES OF AMERICA,                            CR 20–89–BLG–DLC

              Plaintiff,

       vs.                                                    ORDER

 TIMOTHY WAYNE CONTRERAZ,
 JR.,

              Defendant.

      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendations in this matter on April 20, 2021. (Doc. 42.) Neither party

objects and so the Court will review for clear error. United States v. Reyna-Tapia,

328 F.3d 1114, 1121 (9th Cir. 2003); Thomas v. Arn, 474 U.S. 140, 149 (1985).

Clear error exists if the Court is left with a “definite and firm conviction that a

mistake has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000) (citations omitted).

      Judge Cavan recommended this Court accept Timothy Wayne Contreraz,

Jr.’s guilty plea after Contreraz appeared before him pursuant to Federal Rule of

Criminal Procedure 11, and entered a plea of guilty to one count of a prohibited

person in possession of a firearm in violation of 18 U.S.C. § 922(g)(1) as charged

in the Indictment.

      The Court finds no clear error in Judge Cavan’s Findings and
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Recommendation and adopts them in full. The Court will defer acceptance of the

Plea Agreement until sentencing when the Court will have reviewed the Plea

Agreement and Presentence Investigation Report. Accordingly,

      IT IS ORDERED that the Findings and Recommendations (Doc. 42) is

ADOPTED in full. Contreraz’s motion to change plea (Doc. 35) is GRANTED and

he is adjudged guilty as charged in Count I of the Indictment.

      DATED this 5th day of May, 2021.




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